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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

  Case No. SA CV 22-00099-DOC-DFMx                                  Date: February 14, 2022

  Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON, ET AL.


  PRESENT:

            THE HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

                 Karlen Dubon                                    Not Present
                Courtroom Clerk                                 Court Reporter

        ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
              PLAINTIFF:                                   DEFENDANT:
             None Present                                   None Present


         PROCEEDINGS (IN CHAMBERS): ORDER SETTING BRIEFING
                                    SCHEDULE RE: JANUARY 4-7,
                                    2021 DOCUMENTS

         Based on the Select Committee’s representations about its priorities, the Court
  previously ordered Dr. Eastman to begin his production with communications from
  January 4-7, 2021 (Dkt. 63). Following Dr. Eastman’s review of those documents, the
  Select Committee objected to his assertions of privilege for 130 documents, comprising
  568 pages.

         The Select Committee has repeatedly noted the significance of communications
  immediately before and after the January 6 attack on the Capitol. Given the
  investigation’s urgency, the Court finds it appropriate to expedite its privilege review of
  the January 4-7, 2021 documents. The Court therefore ORDERS as follows:

     1. Dr. Eastman shall file briefing by 4:00 pm PST on Tuesday, February 22, 2022
        supporting his assertions of privilege for each document between January 4 and
        January 7, 2021. Dr. Eastman shall have a maximum of 40 pages for his opening
        brief.
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                              UNITED STATES DISTRICT COURT
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     2. Along with his opening brief, Dr. Eastman shall file with the Court and the Select
        Committee evidence of all attorney-client and agent relationships asserted in the
        privilege log. Dr. Eastman shall also provide evidence documenting any attorney-
        client relationships that existed with his clients. Evidence may include engagement
        letters, retainer agreements, or other writings. The evidence shall confirm the
        timing and scope of each attorney relationship and each agent relationship,
        including specific named lawsuits if applicable. If there is no written
        documentation, the Court will accept a sworn statement from an attorney, client,
        or agent in each relationship attesting that written documentation does not exist
        and specifying the timing and scope of the relationship.

     3. The Select Committee shall file its opposition by 4:00 pm PST on Wednesday,
        March 2, 2022. The briefing shall address higher-level objections that apply to a
        substantial number of documents, as well as document-specific objections. The
        Select Committee shall have a maximum of 60 pages for its briefing.

     4. Dr. Eastman shall file his reply to the Select Committee’s objections by 4:00 pm
        PST on Monday, March 7, 2022. Dr. Eastman shall have a maximum of 20 pages
        for his reply brief.

     5. The Court is cognizant of the time required to draft comprehensive privilege
        briefing for this number of documents. Given the Select Committee’s request for
        expedited briefing, Dr. Eastman’s daily quota for ongoing document review shall
        be decreased to 500 pages during his briefing dates: February 15-22, 2022, and
        March 3-7, 2022.


         The Court sets a hearing for Wednesday, March 9, 2022 at 9:00 am PST
  for oral argument as to the privileges asserted in the January 4-7 documents.


        The Clerk shall serve this minute order on the parties.


   MINUTES FORM 11                                                Initials of Deputy Clerk: kdu

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